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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )   CASE NO.: 1:24CR442
                                                    )
                Plaintiff,                          )   JUDGE J. PHILIP CALABRESE
                                                    )
        v.                                          )
                                                    )
 BASHEER JONES,                                     )   UNITED STATES’ SENTENCING
                                                    )   MEMORANDUM
                Defendant.                          )

       The United States of America, by and through its counsel, Acting United States Attorney

Carol M. Skutnik, and Erica D. Barnhill and Elliot Morrison, Assistant United States Attorneys,

respectfully submits this memorandum setting forth the United States’ position regarding the

sentencing of Defendant Basheer Jones. For the reasons set forth below and those to be

articulated at the sentencing hearing, the United States respectfully submits that a sentence

within the Guidelines range as calculated in the plea agreement is appropriate in this case.

I.     APPLICABLE LEGAL STANDARDS

       A well-established legal framework guides the Court’s sentencing determination. The

advisory Guidelines range serves as “the starting point and the initial benchmark.” Gall v.

United States, 552 U.S. 38, 49 (2007); see also United States v. Collington, 461 F.3d 805, 807

(6th Cir. 2006). The Guidelines thus remain an indispensable resource for assuring appropriate

and uniform punishment for federal criminal offenses. The Sentencing “Commission fills an

important institutional role: It has the capacity courts lack to ‘base its determination on

empirical data and national experience, guided by a professional staff with appropriate

expertise.’” Kimbrough v. United States, 552 U.S. 85, 109 (2007) (internal citation omitted).

After determining the appropriate Guidelines range, the Court then turns to the familiar factors
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set forth in 18 U.S.C. § 3553(a): the need for the sentence imposed to reflect the seriousness of

the offense, promote respect for the law, and provide just punishment for the offense; to afford

adequate deterrence to criminal conduct; to protect the public from further crimes of the

defendant; and to provide the defendant with needed educational or vocational training, medical

care, or other correctional treatment in the most effective manner.

II.    APPLICATION OF § 3553(A) FACTORS

       Reviewing the § 3553(a) factors should lead this Court to conclude that a Guidelines

sentence is appropriate in this case. In order to promote respect for the law and provide

deterrence, it is important that Defendant’s sentence follows the core legal principle of our

democracy that the laws apply equally to all members of society. Corrupt conduct by public

officials—even where, as here, they have since left office—is serious and should not be

minimized by lenient sentences. In public corruption cases especially, it is important for anyone

who might consider a similar course of action to see that someone who misuses a position of

public trust for his own benefit will face strict punishment. See United States v. Peppel, 707

F.3d 627, 637 (11th Cir. 2013) (noting that general deterrence is particularly effective in cases

involving economic and public corruption crimes); see also United States v. Kuhlman, 711 F.3d

1321, 1328 (11th Cir. 2013) (key objective of sentencing should be “to send a message to other

[public officials] that [bribery] is a serious crime that carries with it a correspondingly serious

punishment”); United States v. Morgan, 635 Fed. App’x 423, 450-51 (10th Cir. 2015) (noting

that “[d]eterrence is a crucial factor in sentencing decisions for economic and public corruption

crimes such as this one” and concluding a sentence of probation was unreasonable and

“encourage[d] rather than discourage[d] [public officials] from engaging in [bribery] because

they might conclude that the only penalt[y] they will face if they are caught [is probation]”). It is

also important for members of the public to see that when their trust is betrayed, meaningful


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consequences follow. “Without meaningful consequences for a breach of trust, their trust is no

more than blind trust.” Morgan, 635 Fed. App’x at 450. Here, a Guidelines sentence will assure

the public that “white collar criminals will not be dealt with less harshly than those criminals

who have neither the wit nor the position to commit crimes other than those of violence.” United

States v. Brennan, 629 F. Supp. 283, 302 (E.D.N.Y. 1986); see also United States v. Davis, 537

F.3d 611, 617 (6th Cir. 2008) (noting that “[o]ne of the central reasons for creating the

sentencing guidelines was to ensure stiffer penalties for white-collar crimes and to eliminate

disparities between white-collar sentences and sentences for other crimes”).

       Although Defendant’s letters of support describe his good deeds and character, the

Seventh Circuit suggests that this type of evidence should be weighed cautiously (at best) in

deciding a sentence for a public official. In United States v. Vrdolyak, 593 F.3d 676, (7th Cir.

2010), Judge Posner found that the district court placed too much weight on letters written on

behalf for a number or reasons, including:


       Politicians are in the business of dispensing favors; and while gratitude like charity is a
       virtue, expressions of gratitude by beneficiaries of politicians’ largess should not weigh
       in sentencing.

       Id. at 683.

Defendant’s past good work in the community is likewise not a reason to vary downward. See

also United States v. Morken, 133 F.3d 628, 630 (8th Cir. 1998) (finding defendant’s good works

unremarkable); United States v. Jordan, 130 F.Supp.2d 665, 672-73 (E.D. Pa. 2001) (denying a

departure for a defendant convicted of money laundering, despite numerous letters detailing

substantial charitable contributions, generosity to community members in need of food, and

service as mentor for neighborhood youths; these acts, “while commendable, are not so

exceptional or extraordinary for a person” like the defendant who owned a small business);



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United States v. Scheiner, 873 F.Supp. 927, 933-35 (E.D. Pa. 1995) (departure was not warranted

for a doctor convicted of conspiring to defraud an insurance company, despite his contributions

to young and poor minorities, including financial sponsorship of several basketball teams,

serving on several community boards, working in a podiatry clinic where free services were

provided to the poor, and generally [having] served as a source of support and inspiration to

many). Indeed, it is widely recognized that “the [Sentencing] Commission intended its guidelines

and policy statements to ‘equalize punishments for white collar and blue collar crime,’” and

courts have endeavored to implement that intention in sentencing. See United States v. Wright,

363 F.3d 237, 248-49 (3d Cir. 2004) (upholding the district court’s denial of a downward

departure where the defendant minister’s good works, although “profound,” “substantial,” and

“sustained,” were not so extraordinary as to justify a downward departure).

       For all of these reasons, this Court should sentence Defendant within the recommended

Guidelines range of 33 to 41 months. As a member of Cleveland City Council, Defendant held a

position not only of prominence within the community, but also one of responsibility. However,

instead of working for the benefit of his constituents, Defendant took advantage of his position to

line his own pockets and the pockets of his family and associates. A sentence within the

Guidelines range would match Basheer Jones’s culpability and reflect the seriousness of his

offenses.

III.   CONCLUSION

       Defendant’s offense conduct and other relevant factors fall squarely within the scope of

the facts and circumstances contemplated by the Guidelines; therefore, a Guidelines sentence

will accomplish the goals of 18 U.S.C. § 3553(a). Thus, the United States respectfully requests




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that the Court impose a sentence within the Guidelines range of 33 to 41 months set forth in the

plea agreement.

                                                     Respectfully submitted,

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                                                     Acting United States Attorney

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